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UNITED STATES DISTRICT COURT                                          DOC #:
SOUTHERN DISTRICT OF NEW YORK                                         DATE FILED: 10/19/2020
 FITEXIN S.A.S. and LAINIÈRE DE PICARDIE,
 INC.,

                            Plaintiffs,                                         20-cv-8685
                                                               Civil Action No. ________

                      -against-                                 ORDER GRANTING
                                                              PLAINTIFFS’ AMENDED
 PRECISION TEXTILES LLC f/k/a PRECISION                          EX PARTE MOTION
 CUSTOM COATINGS LLC, P. & S. TEXTILES,                         FOR LEAVE TO FILE
 INC., P. & S. TEXTILES ASIA, INC., CAMI                         EXHIBITS 1 AND 2
 INVESTMENTS, LLC, PRL ENTERPRISES                             TO THE COMPLAINT
 FLORIDA, LLC, PETER LONGO, SCOTT                                  UNDER SEAL
 TESSER, and CARLOS MONTOYA,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       On October 13, 2020, Plaintiffs Fitexin S.A.S. and Lainière de Picardie, Incorporated

(“Plaintiffs”) filed an Ex Parte Motion for Leave to File Exhibits 1 and 2 to the Complaint Under

Seal, and a brief and the Declaration of Eric R. Breslin in support thereof. Specifically, Plaintiffs

requested that the Equity and Asset Purchase Agreement (Exhibit 1), which is more than three

hundred pages in length, and the Restrictive Covenant Agreement (Exhibit 2) be sealed in their

entirety. The Court denied without prejudice Plaintiffs’ Ex Parte Motion, finding that the proposed

redactions were overbroad and not appropriately tailored to Plaintiffs interest in keeping secret

commercially sensitive, proprietary, nonpublic, trade-secret information.

       On October 16, 2020, Plaintiffs resubmitted the two Exhibits with redactions and a

spreadsheet explaining the purpose of each redaction. The Court has carefully reviewed the

resubmitted exhibits and redactions and finds that Plaintiff’s interest in maintaining the secrecy of

the redacted information in Exhibits 1 and 2 outweighs the presumption of public access to these

judicial documents. See, e.g., GoSMiLE, Inc. v. Dr. Jonathan Levine, D.M.D. P.C., 769 F. Supp.


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2d 630, 649–650 (S.D.N.Y. 2011) (finding that the defendants’ privacy interests in marketing

strategies, product development, costs and budgeting outweighed the presumption of public

access).

       Accordingly, the Court hereby GRANTS Plaintiffs leave to file the Complaint with

redacted copies of Exhibits 1 and 2 and to file unredacted copies of Exhibits 1 and 2 under seal.

Plaintiff shall serve Defendants with unredacted Exhibits to the Complaint.



SO ORDERED.




                                                    _________________________________
Date: October 16, 2020                              MARY KAY VYSKOCIL
      New York, New York                            United States District Judge
                                                    Part One




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